                     IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

DP Professionals, Inc.            )
                                  )
                                  )
                       Plaintiff, )             CASE NO. 3:10-cv-03112-CMC
vs.                               )
                                  )
Dun & Bradstreet Inc.,            )             2nd AMENDED COMPLAINT
                                  )
                                  )              Jury Trial Demanded
                   Defendant.     )
________________________________)


Plaintiff, complaining of the Defendant above-named, would respectfully show as

follows:

                                      JURISDICTION


   1. Plaintiff is a corporation organized under the laws of the State of South Carolina,

       headquartered in the State of South Carolina, with its principal place of business

       in Columbia, South Carolina.

   2. Defendant is a corporation organized under the laws of the State of Delaware,

       headquartered in the State of New Jersey, with its principal place of business in

       the State of New Jersey.

   3. This Court has jurisdiction over the parties and subject matter of this action

       based on the diversity between the Plaintiffs and Defendants, and based on the

       fact that the sum or value of the amount in controversy exceeds $75,000.00,

       exclusive of interest and costs 28 USC §1332.




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                                FACTUAL ALLEGATIONS


4. Plaintiff, DP Professionals, Inc. is in the business of placing Information

   Technology Professionals in employment with its clients.

5. Defendant, the Dun & Bradstreet, Inc., is in the business, inter alia, of selling

   information pertaining to the creditworthiness of businesses to third-parties.

6. At all times herein mentioned, Defendant employed certain individuals to carry

   out its business, at all times herein mentioned, said individuals acted within the

   course and scope of their employment; alternatively, said conduct was ratified by

   the Defendant.

7. Upon information and belief, in or around early 2009, Plaintiff received a letter

   from Defendant stating that there had been “inquiries” into Plaintiff’s credit via

   Defendant.

8. Plaintiff thereafter contacted Dun & Bradstreet, which, stated that it was unable to

   reveal to Plaintiff who was checking Plaintiff’s credit; however, Defendant

   represented to Plaintiff, falsely, that Plaintiff’s credit was poor.

9. Defendant stated that Plaintiff had the right to protest negative information that it

   was reporting. Defendant further recommended that, to better protect itself

   against negative information, Plaintiff purchase Defendant’s credit monitoring

   service at an annual cost of $499.00, so that any negative information reported

   would be “immediately” revealed to Plaintiff, in order that Plaintiff might request a

   correction.



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10. Based on Defendant’s representations about the quality and necessity of this

   service, Plaintiff purchased the product offered.

11. Additionally, Plaintiff immediately disputed the false, negative information that

   Defendant was reporting.

12. Upon information and belief, despite actual or constructive knowledge that its

   reporting was erroneous, from early 2009 through August of 2010, Defendant

   made numerous false and damaging misrepresentations to third parties

   concerning the credit worthiness of the Plaintiff. This information included, but

   was not limited to, the express representation that Plaintiff was “delinquent” on

   accounts to vendors, that Plaintiff’s payments on its debts were “beyond terms,”

   that debts allegedly owed by Plaintiff had been declared “bad” debts, that Plaintiff

   had a “credit limit” of $2500.00, that Plaintiff had failed to pay

   telecommunications vendor(s), and such other specific representations as to be

   shown at trial.

13. All of the foregoing information was false.

14. All of the foregoing information was communicated by Defendant, in writing, to

   third parties, for the benefit of the Defendant.

15. On multiple occasions, over a period of several months, Plaintiff repeatedly

   disputed the false, negative information to the Defendant. On multiple occasions,

   Defendant admitted that errors had been made, and represented to Plaintiff that

   same had or would be corrected. Thereafter, however, Defendant continued to

   publish false and damaging information about Plaintiff to third parties.




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16. Further, on multiple occasions Defendant’s representatives, represented, falsely,

   that purchasing or upgrading to one or more of Defendant’s monitoring or “credit

   builder” products would improve its reporting of Plaintiff’s creditworthiness.

17. In essence, Defendant used its false reporting about Plaintiff as a marketing tool

   to extract more money from the Plaintiff, to reveal to Defendant Plaintiff’s internal

   financial information, and to entice Plaintiff into reporting about other businesses.

18. The programs which Plaintiff was induced to purchase, however, did not perform

   as stated; for example, on multiple occasions the credit monitoring program did

   not timely notify Plaintiff when Plaintiff’s credit was falsely “downgraded” and

   failed to alert Plaintiff as to the appearance (or re-appearance) of false

   information in Defendant’s reporting.

19. As a direct and proximate result of the foregoing, Plaintiff has been damaged.


                           FOR A FIRST CAUSE OF ACTION


                                           (Libel)


20. The allegations contained hereinabove are repeated as if fully alleged herein

   verbatim, to the extent not inconsistent with the allegations of this cause of

   action.

21. Defendant communicated false information concerning the Plaintiff, in writing.

22. The false information communicated by the Defendant was defamatory per se,

   and had defamatory meaning in that it impeached the honesty, integrity, virtue,

   and reputation of the Plaintiff.




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23. Said communications invaded the privacy of Plaintiff and placed Plaintiff in a

   false light.

24. The defamatory information communicated by Defendant was unprivileged.

25. The defamatory information was communicated by Defendant to third parties, on

   multiple occasions.

26. The false communications of the Defendant are actionable per se. As a direct

   and proximate result of the foregoing, Plaintiff suffered general damages, which

   are presumed by law, including injury to reputation, harm to its business, and

   such other general and specific damages as may be shown at trial.

27. Defendant's false, written statements were not a matter of public concern, and

   were published with actual or implied malice, and with such recklessness as to

   the truth or falsity of the information as to show a conscious indifference towards

   Plaintiff.

28. As a direct and proximate result thereof, Plaintiff is entitled to recover punitive

   damages, in addition to actual and general damages, in an amount to be

   determined by the trier of fact.


                          FOR A SECOND CAUSE OF ACTION


                                   (Injurious Falsehood)


29. The allegations contained hereinabove are repeated as if fully alleged herein

   verbatim, to the extent not inconsistent herewith.

30. The derogatory information referenced above had defamatory meaning in that it

   impeached the honesty, integrity, virtue, and reputation of the Plaintiff. Said


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   information invaded the legitimate expectation of privacy of the Plaintiff and

   placed Plaintiff in a false light which would be offensive to any reasonable

   person.

31. Defendant published the information, in writing, with actual or implied malice, and

   with such recklessness as to the truth or falsity of the information as to show a

   conscious indifference towards Plaintiff.

32. The derogatory information was false and concerned the Plaintiff.

33. Defendant published the derogatory information to persons other than the

   Plaintiff, including but not limited to potential creditors or customers of the

   Plaintiff.

34. The actions of the Defendant caused Plaintiff to suffer actual damages as may

   be shown at trial, in addition to special and general damages including

   embarrassment, humiliation, lost time, out of pocket expenses, loss of reputation

   and damage to its business.

35. Upon information and belief, judgment should be granted to Plaintiff that includes

   actual and punitive damages, based on the recklessness and malicious conduct

   described above.


                           FOR A THIRD CAUSE OF ACTION


                             (Negligent Misrepresentation)


36. The allegations contained herein are repeated as if fully alleged herein verbatim.

37. Defendant made misrepresentations of fact, both to and concerning the Plaintiff,

   as set forth above.


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38. Defendant had a pecuniary interest in making the false statements.

39. Defendant owed a duty of care to see that the truthful information was

   communicated to the Plaintiff and others.

40. Defendant breached that duty by failing to exercise due care, by intentionally and

   repeatedly misinforming the Plaintiff, and in such other respects as may be

   shown at trial.

41. The Plaintiff justifiably relied on the misrepresentations of Defendant.

42. As a direct and proximate result of the reliance of the Plaintiff, the Plaintiff

   suffered a pecuniary loss.


                           FOR A FOURTH CAUSE OF ACTION

                                  (Unfair Trade Practices)


43. The allegations contained hereinabove are repeated as if fully alleged herein

   verbatim, to the extent not inconsistent with this cause of action.

44. The activities of the Defendant constitute “trade or commerce” as defined by

   South Carolina Code Section 39-5-10, et.seq., (as amended).

45. The actions of the Defendant, above-described, constitute unfair and deceptive

   acts and practices in the conduct of trade and commerce, as prohibited by the

   South Carolina Unfair Trade Practices Act, 39-5-10 et.seq., and are willful

   violations thereof.

46. The actions of the Defendant have a real and substantial potential for repetition

   and affect the public interest.

47. The Plaintiff has suffered an ascertainable loss due to the unlawful actions of the

   Defendant, entitling Plaintiff to recover actual damages in an amount to be

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      proven at trial, treble said actual damages, and an award of attorney’s fees and

      costs.


                               FOR A FIFTH CAUSE OF ACTION


                   (Interference with Prospective Contractual Relations)


   48. The allegations contained hereinabove are repeated as if fully alleged herein

      verbatim, to the extent not inconsistent herewith.

   49. The Defendant herein interfered with the potential contractual relations of

      Plaintiff.

   50. The interference by Defendant with potential contractual relations was committed

      for an improper purpose or by improper methods.

   51. As a direct and proximate result of the negligent, grossly negligent, willful,

      intentional and malicious acts of the Defendant, all in reckless disregard of the

      rights of the Plaintiff, Plaintiff suffered injury through the loss of credit,

      opportunity, and reputation in the community, damages associated with the

      foregoing, and such other damages as may be proven at trial.

   52. Due to the acts of the Defendant, the Plaintiff should be granted judgment that

      includes actual damages and punitive damages, and the costs of this action, all

      in an amount to be determined by the trier of fact.


                               FOR A SIXTH CAUSE OF ACTION


                                 (Fraud and Misrepresentation)


53. The allegations contained hereinabove are repeated as if fully alleged herein


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   verbatim, to the extent not inconsistent herewith.

54. The Defendant made numerous representations to the Plaintiff about Defendant’s

   services, in the forms of statements and set of actions.

55. The said Defendant’s statements were dishonest in fact, and constituted unfair

   dealing.

56. In reliance on the Defendant’s representations, the Plaintiff was induced into

   purchasing said services.

57. The Defendant knew of, or had a constructive knowledge of, the falsity of its

   representations to the Plaintiff or the Defendant made the representations with

   reckless disregard of the truth.

58. The Defendant had the intent that its representations be acted upon, and indeed, the

   Plaintiff did purchase said services from Defendant in reliance of the Defendant’s

   representations.

59. The Plaintiff was ignorant of the falsity of Defendant’s representations.

60. The Plaintiff did rely on the Defendant’s misrepresentation.

61. The Plaintiff’s reliance on Defendant’s misrepresentation was proper and was not

   made a reckless or a grossly negligent manner.

62. As a direct and proximate result of the negligent, grossly negligent, willful, intentional

   and malicious acts of the Defendant, all in reckless disregard of the rights of the

   Plaintiff, Plaintiff suffered injury through the loss of credit, opportunity, and reputation

   in the community, damages associated with the foregoing, and such other damages

   as may be proven at trial.

63. Due to the acts of the Defendant, the Plaintiff should be granted judgment that



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   includes actual damages and punitive damages, and the costs of this action, all in an

   amount to be determined by the trier of fact.




                             FOR A SEVENTH CAUSE OF ACTION


                                      (Constructive Fraud)


64. The allegations contained hereinabove are repeated as if fully alleged herein

   verbatim, to the extent not inconsistent herewith.

65. The Defendant made numerous representations to the Plaintiff about Defendant’s

   services, in the forms of statements and set of actions.

66. The said Defendant’s statements were dishonest in fact, and constituted unfair

   dealing.

67. In reliance on the Defendant’s representations, the Plaintiff was induced into

   purchasing said services.

68. The Defendant ought to have known the falsity of its representations to the Plaintiff.

69. The Defendant had the intent that its representations be acted upon, and indeed, the

   Plaintiff did purchase said services from Defendant in reliance of the Defendant’s

   representations.

70. The Plaintiff was ignorant of the falsity of Defendant’s representations.

71. The Plaintiff did rely on the Defendant’s misrepresentation.

72. The Plaintiff’s reliance on Defendant’s misrepresentation was proper and was not

   made a reckless or a grossly negligent manner.

73. As a direct and proximate result of the negligent, grossly negligent, willful, intentional


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   and malicious acts of the Defendant, all in reckless disregard of the rights of the

   Plaintiff, Plaintiff suffered injury through the loss of credit, opportunity, and reputation

   in the community, damages associated with the foregoing, and such other damages

   as may be proven at trial.

74. Due to the acts of the Defendant, the Plaintiff should be granted judgment that

   includes actual damages and punitive damages, and the costs of this action, all in an

   amount to be determined by the trier of fact.

WHEREFORE, the Plaintiff prays that judgment may be granted against the Defendant

for all damages set forth above, and for such other relief as is just and proper, in an

amount greater than $75,000.00.




                                           Respectfully submitted,


                                           s/ Dave Maxfield__________
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